




NO. 07-07-0304-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



SEPTEMBER 26, 2007

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IN THE MATTER OF THE MARRIAGE OF MARY MCKAY

DUNCAN AND RICHARD WITT DUNCAN AND IN THE

INTEREST OF ROBERT RICHARD WITT DUNCAN CHILD

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FROM THE 200th DISTRICT COURT OF TRAVIS COUNTY;



NO. D-1-FM-94-010519; HON. MARGARET A. COOPER, PRESIDING

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ORDER ON MOTION TO VACATE AND DISMISS APPEAL

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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ. 

Appellant and appellee, by and through their attorneys, represent to the court that the dispute has been settled. &nbsp;So too do they request that we “vacate” the trial court’s judgment and dismiss the appeal. &nbsp;&nbsp;Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(2), vacate the trial court’s judgment, and dismiss the case. &nbsp;
Tex R. App. P
. 43.2(e) (stating that an appellate court may vacate a trial court’s judgment and dismiss the case). &nbsp;Our having done so at the request of all the litigants, no motion for rehearing will be entertained, and our mandate will issue forthwith.



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


